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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 JUDICIAL WATCH, INC.,


                    Plaintiff,

        v.
                                                    Case No. 19-cv-726 (EGS)
 U.S. DEPARTMENT OF JUSTICE,


                    Defendant.


                                   JOINT STATUS REPORT

       Pursuant to the Court’s Minute Order signed December 8, 2020, the Parties submit the

following joint status report and attached proposed order.

       There are two FOIA requests at issue in this lawsuit, one directed to the FBI, Compl. ¶ 6,

and one to the Department of Justice (“DOJ”) Office of Information Policy (“OIP”), Compl. ¶ 12.

FBI has completed its response to the request and, at Plaintiff’s request, provided Plaintiff with a

draft Vaughn index for all documents withheld in full and a draft description of the search

methodology employed in responding to the FOIA requests. Plaintiff is currently evaluating FBI’s

search and disclosures.

       OIP has provided the same information to Plaintiff regarding its response to the request

and the Parties have met and conferred regarding OIP’s search and disclosures. In the course of

those discussions, OIP discovered that it had inadvertently excluded certain custodians from its

search that may possess responsive records. OIP informed Plaintiff and initiated a supplemental

search. Plaintiff concurs that a supplemental search should be made. OIP anticipates that it will

be in a position to evaluate the results of this search and to confer with Plaintiff regarding a

timeframe for further disclosures, if any, by early February.
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        In light of the foregoing status, the Parties propose filing a further joint status report by

March 16, 2021, in which they anticipate providing further information regarding the status of

OIP’s supplemental search or, if possible, proposing a schedule for summary judgment briefing in

this litigation.

Dated: January 14, 2021                              Respectfully submitted,

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